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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

In Re: Don Karl Juravin

DON KARL JURAVIN,

                         Appellant,

v.                                                                    Case No: 6:20-cv-2117-Orl-40

FEDERAL TRADE COMMISSION,

                         Appellee.
                                                  /

                                  INTERESTED PERSONS ORDER
                                       FOR CIVIL CASES

        This Court makes an active effort to screen every case in order to identify parties

and interested corporations in which any assigned judge may be a shareholder, as well

as for other matters that might require consideration of recusal.

        It is therefore ORDERED that, within fourteen days from the date of this order (or

from the date of subsequent first appearance 1 in this action), each party, pro se party,

governmental party, intervenor, non-party movant, and Rule 69 garnishee shall file and

serve a CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT in

the following form:




        1 Every pleading or paper filed constitutes a general appearance of the party unless otherwise
specified. Local Rule 2.03 (a).
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                              CERTIFICATE OF INTERESTED PERSONS
                             AND CORPORATE DISCLOSURE STATEMENT


         I hereby disclose the following pursuant to this Court’s interested persons order:

1.)     the name of each person, attorney, association of persons, firm, law firm,
partnership, and corporation that has or may have an interest in the outcome of this
action — including subsidiaries, conglomerates, affiliates, parent corporations,
publicly-traded companies that own 10% or more of a party’s stock, and all other
identifiable legal entities related to any party in the case:

         [insert list]

2.)   the name of every other entity whose publicly-traded stock, equity, or debt may
be substantially affected by the outcome of the proceedings:


         [insert list]

3.)    the name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty
largest unsecured creditors) in bankruptcy cases:

         [insert list]

4.)    the name of each victim (individual or corporate) of civil and criminal conduct
alleged to be wrongful, including every person who may be entitled to restitution:


         [insert list]

        I hereby certify that, except as disclosed above, I am unaware of any actual or
potential conflict of interest involving the district judge and magistrate judge assigned
to this case, and will immediately notify the Court in writing on learning of any such
conflict.


[Date]                                             _____________________________
                                                   [Counsel of Record or Pro Se Party]
                                                       [Address and Telephone]
[Certificate of Service]




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       It is FURTHER ORDERED that no party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure

Statement. A motion, memorandum, response, or other paper — including emergency

motion — may be denied or stricken unless the filing party has previously filed and

served its Certificate of Interested Persons and Corporate Disclosure Statement.

       FURTHER ORDERED that each party has a continuing obligation to file and serve

an amended Certificate of Interested Persons and Corporate Disclosure Statement within

fourteen days of 1) discovering any ground for amendment, including notice of case

reassignment to a different judicial officer; or 2) discovering any ground for recusal or

disqualification of a judicial officer. A party should not routinely list an assigned district

judge or magistrate judge as an “interested person” absent some non-judicial interest.

       FURTHER ORDERED that, in order to assist the Court in determining when a

conflict of interest may exist, particularly when ruling on matters formally assigned to

another judge, each party shall use the full caption of the case — including the names of

all parties and intervenors — on all motions, memoranda, papers, and proposed orders

submitted to the Clerk. See Fed.R.Civ.P. 10(a); Local Rule 1.05(b) (“et al.” discouraged).

        ROY B. DALTON, JR.                                    PAUL G. BYRON
        Roy B. Dalton, Jr. [37]                               Paul G. Byron [40]
      United States District Judge                       United States District Judge

       CARLOS E. MENDOZA                                   WENDY W. BERGER
       Carlos E. Mendoza [41]                              Wendy W. Berger [78]
      United States District Judge                       United States District Judge

         G. KENDALL SHARP                                PATRICIA C. FAWSETT
         G. Kendall Sharp [18]                            Patricia C. Fawsett [19]
   Senior United States District Judge               Senior United States District Judge

       GREGORY A. PRESNELL                                    JOHN ANTOON II
        Gregory A. Presnell [31]                              John Antoon II [28]

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  Senior United States District Judge         Senior United States District Judge

         ANNE C. CONWAY
        Anne C. Conway [22]
  Senior United States District Judge

         GREGORY J. KELLY                           THOMAS B. SMITH
        Gregory J. Kelly [GJK]                     Thomas B. Smith [TBS]
    United States Magistrate Judge             United States Magistrate Judge

           DANIEL C. IRICK                           DAVID A. BAKER
         Daniel C. Irick [DCI]                      David A. Baker [DAB]
    United States Magistrate Judge             United States Magistrate Judge

        LESLIE R. HOFFMAN                             EMBRY J. KIDD
       Leslie R. Hoffman [LRH]                      Embry J. Kidd [EJK]
    United States Magistrate Judge             United States Magistrate Judge


November 18, 2020

Copies to:   All Counsel of Record
             All Pro Se Parties




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